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                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:12-cr-00156
                                    )
v.                                  )                 Honorable Paul L. Maloney
                                    )
ADRIAN R. EVANS,                    )
                                    )
            Defendant.              )
____________________________________)


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on May 29, 2013, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Adrian R. Evans entered a plea of guilty to Counts One and Three of the First

Superseding Indictment in exchange for the undertakings made by the government in the written

plea agreement. Count One charges defendant with conspiracy to commit identity theft, wire fraud,

and access-device fraud, in violation of 18 U.S.C. § 1349. Defendant pled guilty to conspiracy to

commit wire fraud. Count Three charges defendant with aggravated identity theft. On the basis of

the record made at the hearing, I find that defendant is fully capable and competent to enter an

informed plea; that the plea is made knowingly and with full understanding of each of the rights

waived by defendant; that it is made voluntarily and free from any force, threats, or promises, apart

from the promises in the plea agreement; that the defendant understands the nature of the charge and

penalties provided by law; and that the plea has a sufficient basis in fact.
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               I therefore recommend that defendant's plea of guilty to Counts One and Three of the

First Superseding Indictment be accepted, that the court adjudicate defendant guilty, and that the

written plea agreement be considered for acceptance at the time of sentencing. Acceptance of the

plea, adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

specifically reserved for the district judge.



Date: May 30, 2013                                     /s/ Ellen S. Carmody
                                                      ELLEN S. CARMODY
                                                      United States Magistrate Judge



                                      NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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